17-50236-amk   Doc 118   FILED 06/19/18   ENTERED 06/19/18 14:03:35   Page 1 of 5
17-50236-amk   Doc 118   FILED 06/19/18   ENTERED 06/19/18 14:03:35   Page 2 of 5
17-50236-amk   Doc 118   FILED 06/19/18   ENTERED 06/19/18 14:03:35   Page 3 of 5
17-50236-amk   Doc 118   FILED 06/19/18   ENTERED 06/19/18 14:03:35   Page 4 of 5
17-50236-amk   Doc 118   FILED 06/19/18   ENTERED 06/19/18 14:03:35   Page 5 of 5
